

People v Rodriguez (2022 NY Slip Op 05291)





People v Rodriguez


2022 NY Slip Op 05291


Decided on September 27, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 27, 2022

Before: Manzanet-Daniels, J.P., Kapnick, Friedman, Scarpulla, Mendez, JJ. 


Ind. No. 1091/07 Appeal No. 16279 Case No. 2021-01368 

[*1]The People of the State of New York, Respondent,
vMaria Rodriguez, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Alexandra L. Mitter of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Paul A. Andersen of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from an order of the Supreme Court, Bronx County Margaret L. Clancy, J.), entered on or about April 19, 2021, which denied defendant's CPL 440.47 motion for resentencing,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the resentencing motion properly denied,
It is unanimously ordered that the order so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 27, 2022








